EXHIBIT 31
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                            Case No. 1:25-cv-10910

                       Plaintiffs,

               v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                       Defendants.



                         DECLARATION OF KELSEY TYSSOWSKI

I, Kelsey Tyssowski, declare as follows:

       1.     I am a Postdoctoral Research Associate in the Departments of Organismic &

Evolutionary Biology and Molecular & Cellular Biology at Harvard University.

       2.     I hold a PhD in Biological and Biomedical Sciences from Harvard University and

a Bachelor’s Degree in Molecular Biology and Neuroscience from Wesleyan University.

       3.     I am a member of Harvard Academic Workers, one of the two collective bargaining

units of Harvard’s chapter of the International Union, United Automobile, Aerospace and

Agricultural Implement Workers of America (“HAW–UAW”).

       4.     My research focuses on comparing different subspecies of deer mice with innate

behavioral differences to understand how the nervous system enables skilled movement.

       5.     I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.


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       6.      I am aware that the Trump administration has taken a series of actions targeting

Harvard in recent months. In particular, I am aware that on March 10, 2025 the federal government

sent a letter to Harvard and many other universities warning of potential enforcement actions. I am

aware that on March 31, 2025, the federal government announced a comprehensive review of

federal contracts and grants at Harvard University and its affiliates. I am aware that officials from

the Trump administration sent a letter to Harvard on April 3, 2025 demanding that Harvard

immediately take a long list of actions to remain a recipient of federal funding (the “April 3

Letter”). I am aware that this was followed by a subsequent letter from Trump administration

officials on April 11, 2025 with more detailed demands that “incorporate[d] and supersede[d] the

terms” of the April 3 Letter and which the Trump administration proposed would serve “as the

basis for an agreement in principle that will maintain Harvard’s financial relationship with the

federal government” (the “April 11 Letter,” and together with the April 3 Letter, the “Demand

Letters”). Both of the Demand Letters were made public and I have read the demands listed in the

Demand Letters.

       7.      I am aware that on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

froze over $2 billion in federal grants to Harvard. I understand that the federal government has

since refused to disburse funds obligated to these grants despite receiving requests from Harvard

University to do so.

       8.      I am aware that on May 5, 2025, Secretary of Education Linda McMahon

announced that “Harvard should no longer seek GRANTS from the federal government, since none

will be provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”)

terminated its grants to Harvard. I am aware that on May 9, 2025, the Department of Agriculture

terminated its grants to Harvard. I am aware that on May 12, 2025, the Department of Energy,



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Department of Defense, the National Science Foundation (“NSF”), and the Department of Housing

and Urban Development each terminated their grants to Harvard. Letters communicating each of

these terminations were made public, and I have read each of those letters.

       9.      I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of American

universities and making a range of threats about how the federal government intended to use its

authority to impose numerous demands on Harvard University specifically.

       10.     I received a K99/R00 grant from the NIH that was supposed to cover my salary

through March 2026, covering most of the end of my postdoctoral research and was supposed to

cover the first three years of research in my own lab.

       11.     My understanding is that after June 30, 2025, any stopgap funding from Harvard

University will not cover grants awarded to non-tenure-track researchers. It will be at the discretion

of researchers’ tenured/tenure-track faculty supervisor as to whether non-tenure track researchers

whose federal funding has been terminated will be provided some amount of funding. At this time,

I have not been guaranteed funding to support my salary and research through the summer of 2026.

If I do not receive this stopgap funding, I may be forced to leave academic science entirely.

       12.     The loss of federal funding will imminently affect my work and my career

prospects. The loss of my NIH funding will hinder my ability to travel, especially for an extended

period as I had hoped, to visit a skilled movement research lab in North Carolina that I have been

collaborating with as lead scientist for the past five years. This will negatively impact the research

I am doing as part of this collaboration.

       13.     The loss of the R00 grant, which would have funded the first few years of research

in my own lab, will negatively impact my chances of getting a tenure-track faculty job and



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continuing my research program. If I am unable to secure a tenure-track faculty job this year, which

has been made even more challenging due to the loss of my R00 grant, I may be forced to leave

academic science entirely.

         14.    My research has developed a new system using deer mouse lines to study skilled

movement. With the termination of my R00 grant and its impact on my ability to continue my

research and obtain a faculty job, the world might never benefit from the discoveries that could be

made with this system, as it depends on mouse lines that don’t exist anywhere else in the world

and expertise that I have developed since beginning my postdoctoral research in August 2019.



I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

Dated:    May 30, 2025                               Signed: /s/ Kelsey Tyssowski

                                                     Kelsey Tyssowski
                                                     Postdoctoral Research Associate




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